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        Claimants Alexander Chernyavsky, Kyle Rupprecht, Mike Livieratos, and Sunil Kavuri

(“Individual Claimants”), both individually and on behalf of the MDL Class, by and through MDL

Co-Lead Counsel in In Re: FTX Cryptocurrency Exchange Collapse Litigation (MDL No. 3076)

pending before the Honorable K. Michael Moore in the Southern District of Florida (the “FTX

MDL”), respectfully petition this Court for a hearing Pursuant to Rule 32.2 of the Federal Rules of

Criminal Procedure and 21 U.S.C. § 853(n) to adjudicate the validity of their interests in the assets

identified in Exhibit A to the Preliminary Order of Forfeiture / Money Judgment, issued on March 29,

2024 (together, the “Forfeited FTX Customer Assets”). The Individual Claimants herein are named

plaintiffs and putative class representatives in the FTX MDL who have moved for preliminary

approval, on behalf of the putative class of FTX victims (together, the “MDL Plaintiffs”), of

several class action settlements with FTX Insiders and Promoters, including Defendant Sam

Bankman-Fried (“SBF”).

        Each MDL Plaintiff is an FTX customer whose digital assets were stolen by SBF. When

SBF committed the theft and fraudulent acts for which he was found guilty by a jury of his peers

in this Court, each MDL Plaintiff held all right, title, and interest to these digital assets. The assets

of the MDL Plaintiffs were the principal targets of SBF. The Court presiding over the FTX MDL

has already found that court-appointed Co-Lead counsel would be able to fairly and efficiently

represent the interest of the MDL Plaintiffs in the consolidated proceedings. Accordingly, MDL

Plaintiffs respectfully suggest that the MDL is best situated to distribute the funds discussed herein.




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                                        BACKGROUND

The FTX Fraud

       1.       In May 2019, SBF and his co-founders, Gary Wang and Nishad Singh, launched

FTX, which, along with various subsidiaries, affiliates and related entities, operated the FTX

Platform, which FTX purported to be a centralized digital asset exchange aimed at “the mass

market and first-time users” of cryptocurrencies. FTX portrayed itself as a trustworthy and law-

abiding member of the cryptocurrency industry, focused not only on profits, but also on investor

and client protection. FTX claimed to employ security measures such as segregation of customer

funds and managing or eliminating conflicts, including SBF’s ownership of quantitative crypto

trading firm, Alameda, which was a trader on the FTX Platform, in order to curate a security-first

persona to lure in inexperienced and unwitting investors to the platform.

       2.       However, FTX was none of these things. Instead of managing conflicts, the FTX

Group actively embraced them, using funds from FTX Trading, FTX.US, and Alameda

interchangeably to prop up the enterprise, including FTX customer assets as an interest-free source

of capital for Alameda’s and SBF’s private ventures.

       3.       For many years, SBF directed that FTX customer funds be wired to bank accounts

held by North Dimension, a wholly owned subsidiary of Alameda, which were then commingled

with Alameda’s funds and misappropriated by SBF. This improper relationship between FTX and

Alameda was further detailed by SBF, who admitted that “people wired $8b to Alameda and . . .

it was never delivered to FTX.” Often, SBF used the misappropriated customer funds to pay for

Alameda’s, increasingly riskier, leveraged trades and investments. Additionally, FTX created a

backdoor in their code to allow Alameda to circumvent FTX’s risk engine, which would auto-

liquidate accounts with a negative balance. Instead, Alameda was allowed to go into an estimated


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$65 billion negative balance, effectively giving Alameda a line of credit in that amount which was

collateralized with FTX customer funds.

FTX Insider Liability

        4.         For their roles in this fraud, SBF, Gary Wang, Nishad Singh, and Caroline Ellison

(“FTX Insiders”) have been criminally charged by the United States, sued by customers in civil

suits so numerous that they are now consolidated in the FTX MDL, and individually named in

adversary proceedings initiated by the debtor in the FTX bankruptcy.

        5.         In this Court, SBF was charged with seven counts: wire fraud, conspiracy to

commit wire fraud on FTX’s customers, conspiracy to commit securities fraud on FTX’s investors,

conspiracy to commit commodities fraud on FTX’s customers, and conspiracy to commit money

laundering.

        6.         He was convicted on all seven counts. MDL Insider Defendants Caroline Ellison,

Gary Wang, and Nishad Singh have all pled guilty to charges related to their involvement in the

fraudulent activities at FTX and cooperated with the government in the case against SBF. Their

testimonies established the extensive fraud and misappropriation of customer funds now subject

to forfeiture.

        7.         The MDL Plaintiffs have sued the FTX Insiders for fifteen causes of action and

were careful not to include any claims that would arguably belong to the FTX Bankruptcy Estate:

                 x Claims for unlawful promotion and sale of unregistered securities
                   (Counts I, XII);

                 x State law consumer protection claims for unfair and deceptive practices
                    under Florida and California law (Counts II, XIV, XV);

                 x Contract and tort claims for civil conspiracy, fraud, aiding & abetting
                   fraud, conversion, aiding and abetting conversion, negligent
                   misrepresentation, breach of fiduciary duty, aiding and abetting breach
                   of fiduciary duty, and unjust enrichment (Counts III–XI); and

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              x Federal RICO claims under 18 U.S.C. § 1962(c) (Count XIII).

        8.       In the bankruptcy court, certain FTX customers have filed claims against SBF and

other FTX Insiders for breach of fiduciary duty and for other related claims (Adv. Proc. 22-50513-

JTD). The FTX Debtors have filed adversary proceedings asserting fraudulent transfer and other

claims against SBF and other entities (Adv. Proc. 22-11068-JTD) and asserting claims for breach

of fiduciary duties and other claims against SBF and other FTX Insiders (Adv. Proc. 23-50448-

JTD).

FTX MDL Settlement

        9.       The MDL Plaintiffs have already reached proposed settlements in the FTX MDL

with 11 defendants, including SBF and the FTX Insiders. See FTX MDL, ECF No. 565 at 10–11.

Motions for preliminary approval these settlements are pending.

        10.      Through these settlements, the MDL Plaintiffs have obtained documents and

information relevant to their other claims, assistance in pursuing those claims, and an agreement

not to object to the distribution of the forfeiture funds at issue here through the MDL, among other

things. (See Section IV, infra, for further details.)

SBF Criminal Verdict: SBF Stole from Customers, Not FTX Trading

        11.      As charged in his Superseding Indictment, SBF stole FTX customer funds to

“finance exorbitant spending unrelated to the operation of the FTX platform,” including “to pay

for his own personal expenses, real estate in The Bahamas, speculative venture investments, a

wide-ranging political influence operation, and to repay Alameda’s lenders.” (Superseding

Indictment, ¶ 7).

        12.      On November 3, 2023, a jury convicted SBF for misappropriating FTX customer

funds, not funds owned by FTX Trading or any other corporate entity. SBF was convicted of


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conspiracy to commit wire fraud on FTX’s customers (Count I), wire fraud on FTX’s customers

(Count II), and conspiracy to commit commodities fraud on FTX’s customers (Count V). See ECF

No. 1 at 1 – 2, 5; Gov’t Sentencing Mem., ECF No. 410, at 4. The assets SBF stole were customer

assets that should be returned to the customers through a procedural process best suited to accomplish

that—i.e., the claims administration process that will already be occurring in the FTX MDL for other

class settlements. Experienced MDL judges like Judge Moore in the Southern District of Florida

routinely oversee this kind of process in a fair and efficient manner.

        13.      As the Government further explains: “The defendant directly, and through FTX,

represented to customers that the exchange was safe and trustworthy, that customers’ money

belonged to them and was custodied, and that their funds would not be used by FTX.” Gov’t

Sentencing Mem., at 5; see id. at 6 (“The FTX website also represented that customers owned the

funds they deposited.”). Notwithstanding these representations, SBF “conspired” with other FTX

Insiders to “defraud FTX’s customers by fraudulently inducing customers to deposit funds on

FTX, by misappropriating those funds by directing them to Alameda, and by making false

statements to lull customers into not withdrawing their money.” Id. at 6.

        14.      MDL Co-Lead Counsel and named Plaintiff Sunil Kavuri appeared at SBF’s

March 28, 2024, sentencing to give voice to the harm wrought by SBF’s criminal misconduct,

testifying that the MDL Plaintiffs suffered severe financial losses that have caused personal and

family distress, depression, lost time from work and even suicide. His testimony underscored the

reality that the most direct victims of SBF’s crimes are the putative class of customers in the FTX

MDL.

        15.      Thus, this Court has been clear, and the law of the case moving forward is clear: the

assets at issue here belong to the customers from whom they were stolen. As such, they deserved to

be returned to those customers in the most efficient manner. (See Section IV, infra.)
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SBF’s Forfeiture Order and Apportionment of Funds for Customers

       16.     The Court’s Preliminary Order of Forfeiture directed the forfeiture of 259 specific

properties tied to the fraudulent activities of SBF and other insiders. These assets include

substantial amounts of cryptocurrency, cash, and other financial instruments held in various

accounts and entities linked to SBF and the other FTX Insiders. These assets are primarily the

proceeds of wire fraud and property involved in money laundering and include, as examples:

   x   The Robinhood Shares, of which this Court authorized the sale for a total of
       $605,694,411.50, (Prelim. Order at 3), were purchased by Alameda using the line
       of credit “ultimately coming from customer funds,” as Co-Defendant Ellison
       testified at trial. (Tr. at 732).

   x   The $21 million of United States currency seized by the Government from accounts
       at ED&F Man Capital Markets in the name of “Emergent Fidelity Technologies,”
       (Prelim. Order at 3), are converted FTX customer deposits. (Tr. at 1740 and GX-
       1032).

   x   The $50 million of United States seized by the Government from accounts at
       Moonstone Bank held in the name of “FTX Digital Markets,” (Prelim. Order at 2),
       are converted FTX customer deposits. (Dkt. 49). MDL Plaintiffs have sued
       Moonstone, along with its affiliate, Deltec Bank, and their co-owner, Jean
       Chalopin, for conspiring with Defendant Sam Bankman-Fried and other co-
       conspirators to misappropriate customer funds through accounts at those banks,
       including the $50 million on deposit at Moonstone that the Government has already
       seized.

   x   The United States currency seized by the Government from accounts at Silvergate
       Bank held in the name of “FTX Digital Markets,” (Prelim. Order at 2), are
       converted FTX customer deposits. (Tr. at 1286-88 and GX-1050).

   x   The funds held at Signature Bank in the name of SBF and Luk Wei Chan, (Prelim.
       Order, Ex. A. ¶ 258), are converted FTX customer funds. (Tr. at 1861 and GX-
       1089).

   x   The various cryptocurrencies in Debtors’ Binance accounts (Prelim. Order, Ex. A.
       ¶¶ 2-255), are converted property of FTX customers or were purchased with FTX
       customer funds. (Tr. at 1715).

   x   The Bombardier Global 5000 BD-700-1A11 and Embraer Legacy EMB-135BJ
       aircraft, (Prelim. Order, Ex. A. ¶¶ 257-58), were purchased with FTX customer
       funds. (Tr. at 1715).

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    x   The political contributions made by SBF, Co-Defendant Nishad Singh, and/or Co-
        Defendant Ryan Salame, (Prelim. Order, Ex. A. ¶¶ 259-261), were funded with
        FTX customer funds. (Tr. at 1862-69).

        17.     This Court sentenced SBF to twenty-five (25) years in prison and ordered that

SBF forfeit to the United States the sum of $11,020,000,000, pursuant to the Preliminary Order

entered by the Court the next day. As the Government noted in its Sentencing Memorandum, of

that forfeiture amount, $8,000,000,000 is a conservative estimate of the forfeiture amount that

should flow to FTX’s customers (the “Forfeited FTX Customer Funds”), while the remaining

$3,020,000,000 is to be distributed to Alameda’s lenders and FTX’s investors (the “Forfeited FTX

Investor Funds”). 1 (Gov. Mem. at 104).

        18.     Proceedings in the bankruptcy court are now ongoing, with a hearing on the

Debtors’ disclosure statement (to which the MDL Plaintiffs objected) currently set for June 25,

2024. In addition, adversary proceedings against SBF and other FTX Insiders remain pending.

The Assets Being Forfeited Belong to the MDL Plaintiffs 2

        19.     As this Court has already ruled, the converted customer assets have always, and

continue to be, owned solely by the individual customers as individual property. They were not

owned, at any point, by any FTX Group entity or FTX Insider. The FTX.US User Agreement

dated May 6, 2022, Section 6, “Account Services,” makes clear that “Title to cryptocurrency

represented in your FTX.US Account shall at all times remain with you and shall not transfer to



1
  To the extent this Court agrees with this, or any other, apportionment of funds as between
customers and lenders/investors, the MDL Plaintiffs make no claim regarding how the latter funds
should be distributed.
2
  To the extent the Court decides that the language in FTX’ Terms of Use is not clear, and thus
may consider extrinsic evidence for their interpretation, Class Counsel have already discussed
this issue with the FTX insiders that drafted these sections and are prepared to provide those
materials to the Court.

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FTX.US,” and “FTX.US does not represent or treat assets in your FTX.US Account as belonging

to FTX.US.” Similarly, the FTX International User Agreement dated May 13, 2022. Section 8.2.6

makes clear that “Title to your Digital Assets shall at all times remain with you and shall not

transfer to FTX Trading,” and “None of the Digital Assets in your Account are the property of, or

shall or may be loaned to, FTX Trading; FTX Trading does not represent or treat Digital Assets in

User’s Accounts as belonging to FTX Trading.”

       20.      Schedule 1, “Definitions and Interpretation,” of the FTX International Terms,

defines digital assets as “BTC, ETH, FTT and any other digital asset, cryptocurrency, virtual

currency, token, leveraged token, stablecoin, tokenised stock, volatility token, tokenized futures

contract, tokenised option or other tokenised derivatives product that is supported by and made

available from time to time to transact in using the Platform.” Further, Section 8.3 makes clear that

FTX International “IS NOT A DEPOSITORY INSTITUTION.”

       21.      In order for customers to engage in “Complex Products” trading (including but

not limited to Futures Contracts, Options Contracts, and MOVE Volatility Contracts), customers

were required to post collateral in the form of fiat currency or Digital Assets, both of which always

remained titled to and owned by FTX customers, not FTX International, as indicated by the

foregoing terms.

                                          ARGUMENT

I.     CLAIMANTS HAVE A SUPERIOR INTEREST IN THE ASSETS SUBJECT TO
       FORFEITURE

         22.    The Government has repeatedly and correctly observed that the assets involved

 in this case were derived from criminal activity and have numerous victims. Specifically, the

 Sentencing Memorandum notes that "the defendant misappropriated those funds to invest in a

 variety of speculative assets" and "every dollar stolen from customers was taken out of their

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deposits on FTX and went into the defendant’s (or his companies’) pockets[.]” Sentencing

Memorandum at 52, 73. Furthermore, the Sentencing Memorandum emphasizes the profound

impact on victims, including those who lost their "entire life savings" and experienced severe

financial and emotional distress as a result of the defendant’s actions. Id. at pp. 3, 79.

        23.     The Individual Claimants and MDL Plaintiffs here are those victims. They

invested millions of dollars’ worth of digital funds to purchase unregistered FTX securities,

including YBAs and FTT. It is those digital funds that are source for all of the Forfeited FTX

Customer Assets identified in the Preliminary Order of Forfeiture.

        24.     Those assets include but are not limited to the following accounts which have the

very tokens in them that SBF misappropriated from the MDL Plaintiffs and, in particular, from the

Individual Claimants:

              x 1.3773854 units of Bitcoin (BTC) formerly held in Binance.us account
                 number 35000066 in the name of Alameda Research LTD

              x 24.4135385 units of Bitcoin (BTC) formerly held in Binance.us account
                 number 35155204 in the name of Alameda Research LTD

              x 657.92 units of Bitcoin (BTC) formerly held in Binance.us account
                 number 94086678 in the name of Alameda Research LTD

              x 19.98876671 units of ChainLink (LINK) formerly held in Binance.us
                 account number 35000066 in the name of Alameda Research LTD

              x 98591.64417196 units of ChainLink (LINK) formerly held in Binance.us
                 account number 94086678 in the name of Alameda Research LTD

              x 29.50308659 units of Ethereum (ETH) formerly held in Binance.us
                 account number 35000066 in the name of Alameda Research LTD

              x 289.65502554 units of Ethereum (ETH) formerly held in Binance.us
                 account number 35155204 in the name of Alameda Research LTD

              x 4620.58 units of Ethereum (ETH) formerly held in Binance.us account
                 number 94086678 in the name of Alameda Research LTD


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             x 3.52598049 units of Litecoin (LTC) formerly held in Binance.us account
                number 35000066 in the name of Alameda Research LTD

             x 550 units of Litecoin (LTC) formerly held in Binance.us account number
                35155204 in the name of Alameda Research LTD

             x 31341.27163278 units of Litecoin (LTC) formerly held in Binance.us
                account number 94086678 in the name of Alameda Research LTD

             x 19.1760689 units of Polygon (MATIC) formerly held in Binance.us
                account number 35000066 in the name of Alameda Research LTD

             x 122572.64205808 units of Polygon (MATIC) formerly held in
                Binance.us account number 94086678 in the name of Alameda Research
                LTD

             x 0.50728742 units of Solana (SOL) formerly held in Binance.us account
                number 35000066 in the name of Alameda Research LTD

             x 15242.1 units of Solana (SOL) formerly held in Binance.us account
                number 94086678 in the name of Alameda Research LTD

             x 17.27458532 units of Uniswap (UNI) formerly held in Binance.us
                account number 35000066 in the name of Alameda Research LTD

             x 298179.10587996 units of Uniswap (UNI) formerly held in Binance.us
                account number 94086678 in the name of Alameda Research LTD

       A.      The Claimants’ Property Rights

       25.      Individual Claimants Alexander Chernyavsky, Kyle Rupprecht, Mike Livieratos,

and Sunil Kavuri assert their property rights in the following assets subject to forfeiture as set out

in the chart here, both individually, and as representative examples of MDL Plaintiffs investments:




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 Name                 Name of Crypto                   Quantity Dates Acquired/Deposited

 Alexander                                                        On or after 3/11/2022 through
                      Bitcoin (BTC)                    2.501863
 Chernyavsky                                                      11/11/2022
 Alexander                                                        On or after 3/11/2022 through
                      Ethereum (ETH)                     32.227
 Chernyavsky                                                      11/11/2022
 Alexander                                                        On or after 3/11/2022 through
                      Solana (SOL)                     224.3172
 Chernyavsky                                                      11/11/2022
 Alexander                                                        On or after 3/11/2022 through
                      Litecoin (LTC)                   37.03018
 Chernyavsky                                                      11/11/2022
 Alexander                                                        On or after 3/11/2022 through
                      ChainLink Token (LINK)           238.0017
 Chernyavsky                                                      11/11/2022
 Alexander                                                        On or after 3/11/2022 through
                      Uniswap Protocol Token (UNI)     175.3097
 Chernyavsky                                                      11/11/2022
                                                                  On or about 2021 through
 Kyle Rupprecht       Bitcoin (BTC)                    11.67976
                                                                  11/11/2022
                                                                  On or about 2021 through
 Kyle Rupprecht       Ethereum (ETH)                   12.03103
                                                                  11/11/2022

 Mike Livieratos      Bitcoin (BTC)                    1.003525 10/18/2022 (1 BTC)

                                                                  10/18/2022 (8 ETH), 10/28/2022
 Mike Livieratos      Ethereum (ETH)                   9.751568
                                                                  (1.75 ETH)
                                                                10/18/2022 (200 SOL), 10/28/2022
 Mike Livieratos      Solana (SOL)                     406.1113
                                                                (205 SOL)
                                                                10/18/2022 (7.59 MATIC),
 Mike Livieratos      Polygon (MATIC)                  5042.246 10/28/2022 (3002.21 MATIC),
                                                                8/11/2022 (2000 MATIC)
                                                                Various dates between 11/8/2021 –
 Sunil Kavuri         Bitcoin (BTC)                    15.73505
                                                                10/19/2022

 Sunil Kavuri         Ethereum (ETH)                    799.943   8/11/2022, 12/2022



        26.        Altogether these four Individual Claimants assert a superior right, title, and/or

interest to the following assets both individually, and as representative examples of MDL Plaintiffs

investments:

                x Bitcoin (BTC): 30.920198

                x ChainLink Token (LINK): 238.0017


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              x Ethereum (ETH): 853.952598

              x Litecoin (LTC): 37.03018

              x Polygon (MATIC): 5042.246

              x Solana (SOL): 630.4285

              x Uniswap Protocol Token (UNI): 175.3097

        27.      As a class, the MDL Plaintiffs assert a superior right, title, and interest over the

Forfeited FTX Customer Assets, which were obtained with assets they held on FTX prior to the

date of the bankruptcy, and which the Court ruled in the Preliminary Forfeiture Order that

Bankman-Fried converted to make those purchases. Such information is readily ascertainable by

the Court, and can be obtained by MDL Co-Lead Counsel through a subpoena issued in this action

if desired.

        28.      The Individual Claimants and MDL Plaintiffs retain all title and ownership to the

assets they placed into FTX accounts. The terms of use for FTX.US and FTX Trading both specify,

using substantially similar language, that FTX does not claim any title or ownership to customer

assets placed into accounts on any of the FTX platforms and that FTX does not purport to be a

depository institution. See Declaration of B. Alexander (“Alexander Decl.”), Ex. A (FTX.US

Terms of Service), Section 6; Id., Ex. B (FTX Trading Terms of Service), Section 8.2.6, 8.3, and

Schedule 1. Even in instances of complex products, which require collateral, customers retained

all title and ownership of the collateral property.

        B.     The MDL Plaintiffs’ Interests in the Forfeited FTX Customer Assets Are
               Directly Traceable to Their Investments

        29.      Here, all of the Forfeited FTX Customer Assets were obtained with FTX customer

funds. The jury convicted SBF for “defraud[ing] FTX customers … b]y exploiting the[ir] trust,”

as SBF “misappropriated and embezzled FTX customer deposits … billions of dollars in stolen

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funds for a variety of purposes, including, among other things, to enrich himself, to support the

operations of FTX; to fund speculative venture investments; to help fund over a million dollars in

campaign contributions to Democrats and Republicans to seek to influence cryptocurrency

regulation; and to pay for Alameda’s operating costs” including “to repay Alameda’s lenders.”

(Superseding Indictment, ¶¶ 1, 7).

       30.      The jury found that SBF stole no less than $8 billion from FTX customers to fund

these purchases, which purchases include the Specific Property subject to forfeiture by the Court’s

Preliminary Order as previously described.

       31.      As Mr. Can Sun, one of FTX’s in-house attorneys, testified at SBF’s trial, neither

SBF nor any Debtor had the right to spend $8 billion in FTX customer funds on the Specific

Property or other purchases; instead, Mr. Sun testified, FTX “customer assets, when deposited

onto the platform continued to belong to the customers and FTX ha[d] no rights to customer

assets,” consistent with FTX’s terms of service providing that “[t]itle to [FTX customer] assets

shall at all times remain [with the customer]” and “[n]one of [those assets] are the property of, or

shall or may be loaned to, FTX Trading.” (Tr. at 1915–16). Accordingly, the Forfeited FTX

Customer Assets, comprised primarily of U.S. dollars and cryptocurrencies, belong to FTX

customers in the MDL class, not the Bankruptcy Estate.

II.    CLAIMANTS ARE ENTITLED TO THE RETURN OF THEIR ASSETS

       32.      “Under 21 U.S.C. § 853(n), any third party ‘asserting a legal interest in property

which has been ordered forfeited to the United States’ may ‘petition the court for a hearing to

adjudicate the validity of his alleged interest in the property.’” United States v. Daugerdas, 2020

WL 364601 at *2-3 (S.D.N.Y. Jan. 22, 2020); see also U.S. v. Erpenbeck, 682 F.3d 472,475 (6th

Cir. 2012) (“To obtain title to property through criminal forfeiture, the government must give third


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parties a chance to assert competing interests in the property… If anyone files a petition, the court

must hold an ancillary hearing to determine the bona fides of his alleged interest.”). Congress

created the procedure in 21 U.S.C. § 853(n) “to protect the rights of certain innocent third parties.”

U.S. v. Huntington Nat. Bank, 682 F.3d 429, 433 (6th Cir. 2012).

         33.     “At the hearing, the petitioner must first establish his standing to challenge the

 forfeiture order by demonstrating a ‘legal interest’ in the forfeited property under § 853(n)(2).”

 United States v. Watts, 786 F.3d 152, 160 (2d Cir. 2015). Then the claimant must demonstrate

 that they have “a legal right, title, or interest in the property, … that was vested in the [claimant]

 rather than the defendant or was superior to any right, title or interest of the defendant at the

 time of the commission of the acts which gave rise to the forfeiture of the property.” 21 U.S.C.

 § 853(n)(6)(A); Watts, 786 F.3d at 160. As a result, the Individual Claimants are entitled to

 relief because they can show either that their interest vested before SBF’s interest and that they

 had a superior vested interest. Watts, 786 F.3d at 160.

         34.     The Second Circuit has embraced the Fourth Circuit’s “broader view of legal

 interests” in concluding that “the term ‘legal interest’ in § 853(n)(2) encompasses all legally

 protected rights, claims, titles, or shares in real or personal property.” U.S. v. Schwimmer, 968

 F.2d 1570, 1582 (2d Cir. 1992) (citing Reckmeyer, 836 F.2d 200 (4th Cir. 1987)). In the Second

 Circuit, a claimant may also assert an interest in property via constructive trust when the relevant

 state law recognizes the creation of a constructive trust. Willis Mgmt. (Vermont) Ltd. v. U.S.,

 652 F.3d 236, 245 (2d Cir. 2011).

       35.       Claimants can show that right, title, or interest to the seized assets was vested in

the Claimants rather than the Defendant because Defendant Bankman-Fried never had any

legitimate ownership interest in the Victims’ Crypto-Assets.

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        36.      Notwithstanding this absence of legitimate interest, SBF caused the transfer of the

Forfeited FTX Customer Assets to the Binance.US accounts identified above as well as to other

accounts and destinations identified in the Court’s Preliminary Order of Forfeiture. As a result, the

interest in those Forfeited FTX Customer Assets was vested solely in Individual Claimants and the

MDL Class. Moreover, the Individual Claimants and the MDL Class can show their right, title or

interest was superior to any right, title, or interest of the defendant “at the time of the commission

of the acts which gave rise to the forfeiture of the property,” because if SBF had any interest in

Claimants’ cryptocurrencies—and he does not—SBF’s interest would have vested after Claimants

still maintained possession of their cryptocurrencies and thus Claimants’ right, title, or interest was

superior in time to Defendant’s.

III.    THE CLAIMANTS’ INTERESTS IN THE PROPERTY ARE SUPERIOR TO
        DEFENDANT’S INTEREST

        37.      The MDL Plaintiffs have a specific interest in the Forfeited FTX Customer Assets

set out above—they are not merely general creditors of FTX. Similarly, the MDL Plaintiffs—

including the Individual Claimants—have specific interest in each category of the properties set

out above (i) by virtue of the fact that the assets are directly traceable to assets the MDL Plaintiffs

placed on or attempted to transfer to the FTX Platform and/or (ii) by recognition of a constructive

trust. See Nechis v. Oxford Health Plans, Inc., 421 F.3d 96, 103 (2d Cir. 2005) (quoting Great-W.

Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 213 (2002)) (“[A] constructive trust or equitable

lien is imposed when, ‘in the eyes of equity,’ a plaintiff is ‘the true owner’ of funds or property,

and the ‘money or property identified as belonging in good conscience to the plaintiff [can] clearly

be traced back to particular funds or property in the defendant's possession’”).

        38.      Claimants thus have “a legal right, title, or interest in the property, and such right,

title, or interest . . . was superior to any right, title, or interest of the defendant at the time of the
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commission of the acts which gave rise to the forfeiture of the property under this section.” 21

U.S.C. § 853. The statute “requires that the third party’s interest in any forfeited property must have

been superior to the defendant’s ‘at the time of the commission of the acts which gave rise to the

forfeiture.’” United States v. Daugerdas, 892 F.3d 545, 554 (2d Cir. 2018) (quoting 21 U.S.C.

§ 853(n)(6)(A)).

       39.         Unlike a traditional brokerage, FTX took custody of Class Members’ assets, which

FTX promised to safeguard. In its terms of service, FTX represented to Class Members that “[a]ll

cryptocurrency or dollars (or other supported currencies) that are held in your account are held by

FTX.US for your benefit;” that “[t]itle to cryptocurrency represented in your FTX.US Account

shall at all times remain with you and shall not transfer to FTX.US.;” and that “FTX.US does not

represent or treat assets in your FTX.US Account as belonging to FTX.US.” FTX Trading’s terms

of service similarly represented that no customer funds were “the property of, or shall be loaned

to, FTX Trading,” and that FTX Trading “does not represent or treat Digital Assets in User’s

Accounts as belonging to FTX Trading.” See Alexander Decl., Ex. A (FTX.US Terms of Service),

Section 6; Id., Ex. B (FTX Trading Terms of Service Section), 8.2.6, 8.3, Schedule 1.

       40.         The MDL Plaintiffs’ particular and specific interests in the Victim’s Crypto-

Assets were maintained at all times after they acquired each asset. Claimants maintained this

superior interest at the time that the Victim’s Crypto-Assets were transferred, wrongfully, into the

several Binance accounts identified in the Preliminary Order of Forfeiture and enumerated above.

As a result, Claimants’ interests were superior to those of SBF’s at all time. See 21 U.S.C.

§ 853(n)(6)(A) (“[T]he right, title, or interest was vested in the petitioner rather than the defendant

or was superior to any right, title, or interest of the defendant at the time of the commission of the

acts which gave rise to the forfeiture of the property.”).

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       41.       The MDL Plaintiffs are thus third parties who had an interest in property before

the subject crime was committed (and before the Defendant’s interest vested). United States v.

Egan, 811 F. Supp. 2d 829 (S.D.N.Y. 2011) (standing found where “petitions plausibly assert legal

interests in portions of the seized funds”).

       42.       Claimants are thus entitled to the return a portion of the Forfeited FTX Customer

Assets equivalent to their investment in those assets through FTX or the functional equivalent

thereof. A proceeding under 21 U.S.C. § 853 provides just such a mechanism to allow Claimants

to receive their assets in return—after being deprived of such assets by SBF, FTX, and others

participating in the FTX fraud.

IV.    DISTRIBUTION MECHANISMS

       43.       Justice would be served by directing the proceeds of the forfeiture through the

MDL and the already-establish Claims Administration Process. In all events, as explained further

below, neither the Court nor the Justice Department should divert the proceeds of the forfeiture to

be distributed via the FTX bankruptcy proceedings because the bankruptcy process will not make

the victims—including MDL class members—“whole” and because the involvement of counsel

for Debtors presents serious conflicts that have not yet been resolved.

       44.       The claims of all of the specific injured FTX customers—each, a member of the

MDL class—are represented by counsel in the FTX MDL, and distribution of the $8 billion or

more in Forfeited FTX Customer Assets, which is comprised of those FTX customer funds, would

better flow to them through the MDL process and the Claims Administration Process that has been




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established there, which will be administered by JND, one of the premier legal administration firms

in the country, 3 and who are extremely experienced in these distribution matters. 4

       45.      First, the jury found that the $8 billion Forfeited FTX Customer Assets are derived

from SBF’s fraud on FTX customers, not the FTX companies (now represented by the bankruptcy

estate). It was FTX customer funds that SBF spent on “more than $200 million of real estate

properties in The Bahamas,” that he took in the form of “more than $1 billion” in personal loans,

that he misappropriated for “over $100 million in political contributions in advance of the 2022

election,” that he “authorized Alameda to draw down billions … to use to repay Alameda’s

lenders,” that he “used … to make billions of investments for his own interest and the interests of

his businesses,” including “$605 million worth of shares in Robinhood Markets Inc.” (the

“Robinhood Shares”) and other property subject to this Court’s forfeiture order. (Superseding

Indictment, ¶¶ 8, 9, 10, 38). And it was FTX customer funds that he diverted to Debtors’ accounts

at conventional banks and on cryptocurrency platforms, fiat and crypto assets that this Court has

now ordered be forfeited to the United States. (Prelim. Order at 4–7). The forfeited assets are not,

therefore, property of the FTX bankruptcy estates (collectively, the “Bankruptcy Estate”).

       46.      Second, unlike the bankruptcy process, as this Court is fully aware, the MDL

process is not restricted by the Bankruptcy Code’s distribution scheme, which requires that FTX




3
 With more than 250 employees, JND operates out of its 35,000 square-foot headquarter office in
Seattle and has additional offices in Los Angeles, Minneapolis and New York. JND works with
plaintiff and defense firms, federal and state government agencies, and Fortune 500 companies.
4
 All Parties have, and will continue to discuss, the best possible manner and method of distribution
of the forfeited proceeds directly to the FTX victims, whether through the MDL and/or the Chapter
11 case, commenced by FTX Trading Ltd. and its affiliates (collectively, the “Debtors”) in the
United States Bankruptcy Court for the District of Delaware, captioned In re FTX Trading Ltd.,
Case No. 22-11068 (the “Chapter 11 Cases”).

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customer claims be dollarized and “measured at petition time value.” (Gov. Mem. at 46)

(emphasis added). 5

       47.      Not only was the FTX bankruptcy filed during a “crypto winter,” 6 where crypto

prices as measured in U.S. Dollars saw a dramatic drop in value from where they were less than a

year before, when most customers invested in FTX, but the value of cryptocurrencies has since

recovered remarkably to those previous values since the FTX fraud collapsed. The Bankruptcy

Code’s requirement that FTX customer claims are measured as of the petition date therefore

deprives those customers of billions in value lost because of SBF’s criminal conduct. It would be

profoundly unfair for FTX customers to be deprived of their investment. If not for SBF’s crimes

for which he was convicted—i.e., the theft and misuse of customer assets—the customers would

have today owned their crypto investments.

       48.      For example, since the petition date, the price of Solana (SOL) has increased from

approximately $16 to over $145 7—an increase of more than 9 times, such that the value of

customers’ SOL improperly held by FTX or other entities as a result of SBF’s crimes has increased

more than $7.8 billion since the petition date.8 During the same period of time, the price of Bitcoin



5
 On February 7, 2024, the Bankruptcy Court entered its Order Granting Motion of Debtors to
Estimate Claims Based on Digital Assets [Bankruptcy Docket No. 7090] (the “Claim Estimation
Order”), pursuant to which the Bankruptcy Court established the value of digital assets as of the
petition date (along with additional value discounts for certain types of cryptocurrency).
6
  “Crypto winter” is a common expression that refers to a poorly performing cryptocurrency
market, and is comparable to a bear market in the stock market, usually signified where the
downturn comes with a double-digit percentage drop in crypto values. See
https://www.investopedia.com/crypto-winter-5496605 (accessed June 12, 2024).
7
 See the historical price chart below, reflecting a current trading price of $145.29 as of June 14,
2024. https://www.coindesk.com/price/solana/
8
 https://rates.coinmetrics.io/ as of 3:47 p.m. (Eastern Time) on June 1, 2024. On September 11,
2023, the Debtors reported holding $1.162 billion worth of SOL, which was valued as of August
                                                 19
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(BTC) has more than quadrupled, from approximately $16,871 to approximately $67,552—an

increase of $50,681 per coin, such that the value of BTC9 in FTX’s possession has increased more

than $1.03 billion since the petition date. There is no equitable justification for placing the

Forfeited Assets through a bankruptcy procedure under which FTX or other entities will invariably

obtain the investments that belong to the customers, and which would have always remained in

customers’ possession but for SBF’s theft. The Bankruptcy Estate apparently sold a majority of its

position in SOL at a steep discount for $1.9 billion, reportedly to an affiliate in charge of

liquidating the Estate’s cryptocurrency holdings. 10




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SOL). See Notice of Presentation to Stakeholders [Bankruptcy Docket No. 2463].
9
 https://rates.coinmetrics.io/ as of 3:52 p.m. (Eastern Time) on June 11, 2024. September 11, 2023,
the Debtors reported holding $560 million worth of BTC, which was valued as of August 31, 2023
ZKHQ%7&¶VSULFHZDVDSSUR[LPDWHO\ PLOOLRQ§%7& See Notice
of Presentation to Stakeholders [Bankruptcy Docket No. 2463].
10
        https://news.bitcoin.com/ftx-nets-1-9b-in-solana-sale-at-64-per-sol-discount-price-draws-
creditor-scrutiny/

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       49.      As a result of the strictures of the Bankruptcy Code, despite the remarkable

recovery in market prices of cryptocurrencies since the petition date, the economic injury to FTX

customers would be exacerbated because they would not recoup anywhere near the full value of

their crypto assets through the bankruptcy process, a result that the Debtors freely acknowledge.

By valuing FTX customer crypto holdings in this way, the Bankruptcy Estate deprives customers

of billions of dollars in recoveries. The MDL does not.

       50.      Moreover, the bankruptcy code requires that holders of certain cryptocurrencies

(e.g., holders of FTT) receive nothing. The bankruptcy court’s treatment of FTT, FTX’s exchange

token, will leave “[s]ome FTX customers [to] receiv[e] even lower value in bankruptcy.” The court

determined that FTX’s token, FTT, is akin to an equity interest in FTX, such that the token should

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be valued at $0, even though the token’s current market capitalization exceeds $575 million. 11

Because of the bankruptcy court’s zero-dollar valuation of FTT, and because of the code’s

requirement to prioritize certain creditors over others,12 such that “[h]olders of FTX’s token FTT

are near the bottom of the priority list[,] it is unlikely that holders of that token will receive

compensation from the estate.” Gov. Mem. at 45 n.7.

          51.     Lastly, the Chapter 11 proceedings include a waterfall model that creates a

distribution prioritization hierarchy divided into twenty-eight classes and sub-classes. This

waterfall model provides for different levels of distribution for different classes and sub-classes

and prioritizes the compensation of some over others. Customers are not at the top of this

waterfall. 13

          52.     Conversely, the MDL plans to return assets to their rightful owners on a 1:1 basis.

          53.     These features of the bankruptcy process have left FTX customers feeling

“aggrieved and robbed,” many of whom view the bankruptcy process as a “second act of theft” 14

and that the “FTX bankruptcy estate remains to be the same fraudulent corporate entity” as was

the enterprise run by SBF. 15 The MDL is not restricted by the confines of the Bankruptcy Code in

this way and allows for FTX customers to be made whole through this Court’s forfeiture process.



11
     https://coinmarketcap.com/currencies/ftx-token/ as of 8:30 AM (Eastern Time) on April 3, 2024.
12
     See Exhibit 1 to Claim Estimation Order (Cryptocurrency No. 509 – FTT – valued at $0.00).
13
  To the extent any of the forfeited funds are permitted to flow through the bankruptcy, the MDL
Plaintiffs respectfully request that this Court outline strict procedures for administration that
maintain the funds at all times outside of the waterfall and establish independent allocation rules
for those monies.
14
     In re FTX Trading Ltd., et al., 22-11068 (JTD) (Bankr. D. Del. Jan. 31, 2024), Dkt. 5447.
15
     D.E. 411-4, Victim Impact Statement by Sunil Kavuri [D.E. 411-4 at 16–26], at 19.

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Even though the FTX Debtors have begun investigating claims and initiating adversary

proceedings against various former FTX Group executives, employees, professionals, business

partners, and other parties seeking to avoid transfers or disallow claims in the bankruptcy, the

Chapter 11 proceedings would be less effective than the MDL in furthering the ultimate goal of

compensating those who suffered losses as a result of the FTX fraud.

       54.      Third, the Bankruptcy Estate is laden with conflicts that may risk compromising

the just distribution of the Forfeited FTX Customer Assets to FTX customers, as well as possibly

the integrity of that distribution process. The Bankruptcy Estate owes a fiduciary duty to its

creditors, which comprises, at best, only a subset of FTX customers harmed by SBF’s criminal

conduct. Pursuant to that duty, the estate must prioritize recovery to creditors over recovery to

non-creditor FTX customers, who together suffered the largest economic loss and most devastating

impact of SBF’s misconduct.

       55.      Indeed, the Bankruptcy Estate has already committed Forfeited FTX Customer

Assets to non-customer creditors, including the Robinhood Shares, which the estate has agreed to

effectively pay to BlockFi by providing BlockFi with an allowed secured claim in the amount of

$250 million, which will be paid ahead of FTX customers. See Order (A) Authorizing the Debtors

to Enter Into Global Settlement Agreement with BlockFi; (B) Approving the Global Settlement

Agreement; and (C) Granting Related Relief [Bankruptcy Docket No. 10331]. But many of the

forfeited assets being used to pay FTX’s secured debts did not belong to FTX. Those investments

belonged to the customers.

       56.      Moreover, many of the Bankruptcy Estate’s creditors are not victims of Bankman-

Fried’s crimes as charged and convicted, including for example the New York Times, the Wall

Street Journal, Netflix, and Apple. The Bankruptcy Estate is therefore obligated to maximize

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recovery for only some of SBF’s victims, those who are also creditors of the Bankruptcy Estate,

and to maximize recovery for all creditors—including creditor non-victims—above the FTX

customers who it cannot make whole.

       57.      Additionally, the Bankruptcy Estate is represented by counsel that also represents

many of the Bankruptcy Estate’s non-customer creditors, including BlockFi, Coinbase, Gemini,

Kraken and Sequoia Capital, each of which filed hundred-million-dollar-plus claims in the

bankruptcy. Many of those non-customer creditors—such as Sequoia and other venture capital

firms—have already been sued in the MDL for aiding and abetting SBF’s conduct. Compounding

these conflicts, FTX’s lead bankruptcy counsel provided prepetition services not only to FTX

entities, but also to SBF personally, during the pendency of the fraud on FTX customers.

       58.      In fact, several of the court-appointed law firms on the FTX MDL Steering

Committee have filed suit against FTX’s lead bankruptcy counsel, Sullivan & Cromwell, based on

such counsel’s pre-petition conduct. 16 These claims include civil conspiracy, aiding and abetting

fraud, aiding and abetting breach of fiduciary duty, and a RICO claim under 18 U.S.C. § 1962(d).




16
        In Wildes v. BitConnect Int’l PLC, 25 F.4th 1341 (11th Cir. 2022), the Eleventh Circuit
clearly articulated the standard for mass solicitation of unregistered securities, ruling that
spokespersons who promoted a crypto Ponzi scheme had engaged in “solicitation” of securities by
“urg[ing] people to buy [crypto tokens] in online videos,” even if the offering’s promoters did not
directly target particular purchasers. Id. at 1346.

         The Honorable Edgardo Ramos of the S.D.N.Y. in SEC v. Genesis Global Capital, LLC et
al. No. 1:23-cv-00287-ER, ECF No. 56 (S.D. NY. March 18, 2024) (the “Final Judgment”), found
that “[u]nder both Howey and Reves, the SEC has plausibly alleged that Defendants offered and
sold unregistered securities through the Gemini Earn program”—a program where Gemini
customers could earn interest from defendants’ lending activities if they held eligible crypto assets
in their Gemini accounts—and that “the SEC has sufficiently alleged that Gemini was a necessary
participant or substantial factor in the scheme,” see ECF No. 230, Ex. A at 28.

     Most recently, on March 27, 2024, in SEC v. Coinbase, Inc. et. al., 23 Civ. 4738 (KPF),
ECF No. 105 (S.D.N.Y. Mar. 27, 2024) the Honorable Katherine Polk Failla of the SD.N.Y. found
                                            24
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       59.      Furthermore, as noted above, Examiner Robert Cleary was appointed by the

bankruptcy court to investigate the engagement of Sullivan & Cromwell, among other things.

Notably, Mr. Cleary was appointed only after the Third Circuit reversed the bankruptcy court’s

initial refusal to name an examiner, based on assurances by Sullivan & Cromwell that it was

unnecessary for its conduct to be reviewed. See In re FTX Trading, Ltd., et al., Bankr. D. Del.,

22-11068-JTD, ECF No. 15545 (dated May 20, 2024), at 12–57. After concluding this phase of

investigations, the Examiner recommended two additional areas of investigation: (1) regarding

Sullivan & Cromwell’s representation of SBF in connection with the purchase of Robinhood

Shares and (2) Debtors’ claims against former shareholders of Ledger Holdings, Inc. (a holding

company for LedgerX) that sold their interests to West Realm Shires Inc. in a pre-petition sale.

These investigations have not yet occurred, and the Independent Examiner’s Motion to authorize

this phase of investigations is pending before the Bankruptcy Court. 17



“the SEC has sufficiently pleaded that Coinbase operates as an exchange, as a broker, and as a
clearing agency under the federal securities laws, and, through its Staking Program, engages in the
unregistered offer and sale of securities.” Id. at 84.1 Judge Failla also found that the SEC had
pleaded “control person liability” for Coinbase Global. Id.
17
   All interested Parties will greatly benefit from the upcoming findings by the FTX Independent
Examiner, who requested (with no objection) investigating just three narrow areas of FTX inquiry.
The Independent Examiner suggests that these areas of inquiry are crucial for deciding issues
relating to allocating assets for the FTX victims. The Bankruptcy Court issued an order concerning
the scope of the Examiner’s investigation (the “Scope Order”). ECF No. 9883 (the “Scope
Order”). The Scope Order instructed the Examiner to issue a Report regarding the investigations,
and directed the Examiner to investigate the following topics, which the Third Circuit expressly
enumerated in its opinion: “… whether there are potential conflicts of interest … which were not
adequately addressed by the Court’s hearing.”

On May 23, 2024, Robert Cleary, the FTX Independent Examiner, filed his 225-page Report. ECF
No. 15545. The Report was greeted with broad support from the FTX Debtors and the FTX
victims. The Independent Examiner’s work is crucially important for instilling public confidence
in the proceedings and Petitioners respectfully submit it would be relevant for the Court to review
it.

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       60.       At the end of the day, the MDL may be the only avenue for all FTX victims to

truly be made “100% whole.”

       61.       Fourth, the MDL has already settled claims the MDL Class had with SBF and

Co-Defendants Caroline Ellison, Gary Wang, and Nishad Singh, each of whom is jointly and

severally liable for the $8 billion Forfeited FTX Customer Assets derived from FTX customer

funds, and administration of those settlements dovetails with the distribution of the forfeiture

proceeds. The MDL presents the opportunity to efficiently streamline satisfaction of those

settlements. While the FTX Debtors filed an Adversary Proceeding in the FTX Bankruptcy after

the MDL Plaintiffs and FTX Insiders sought preliminary approval of their settlements, claiming

that the settlements attempt to settle claims belonging to the Estate, the settlements themselves

only release any claims that the FTX Customer class members have against the FTX Insiders.

       62.       Pursuant to those settlements, Ms. Ellison, Mr. Wang, and Mr. Singh have agreed

to cooperate with MDL Plaintiffs to assist in the prosecution of Plaintiffs’ claims on behalf of FTX

customers. Their assistance—in the form of proffer sessions, sworn declarations, and document

productions—has proven already to be tremendously helpful, and Ms. Ellison, Mr. Wang, and Mr.

Singh appear eager to continue to help FTX customers in this way, as set forth in the settlement

agreements. 18

       63.       MDL Plaintiffs recognize that any monetary compensation in exchange for

settlement of the MDL claims against these Co-Defendants would be subordinate to an order of

restitution and/or forfeiture by this Court, including the Preliminary Order for which the Co-




18
  See In re FTX Cryptocurrency Exchange Collapse Litigation, Case No. 1:23-md-03076-KMM
(S.D. Fla.), ECF No. 565 and Exhibits thereto.

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Defendants are jointly and severally liable. MDL Plaintiffs likewise recognize that the $11 billion

forfeiture amount set forth in the Preliminary Order, in addition to any other forfeiture amount

ordered by this Court, swallows any amounts that the Co-Defendants will likely ever be able to

pay. MDL Plaintiffs therefore agreed to defer their pursuit of any monetary consideration for

settlement of their claims against Co-Defendants to the restitution processed provided by the

Mandatory Victims Restitution Act (“MVRA”), 18 U.S.C. § 3663A and/or the forfeiture process

provided by 18 U.S.C. § 981.

       64.      MDL Plaintiffs expect that the Court will find that restitution by the Co-

Defendants is not possible, as it did in sentencing SBF, such that forfeiture of assets will be the

exclusive avenue for monetary compensation for MDL Plaintiffs from Ms. Ellison, Mr. Wang, and

Mr. Singh. The forfeiture process pursuant to the instant Preliminary Order against SBF and

forthcoming orders of similar nature against Co-Defendants Ellison, Wang, and Singh will likely

proceed simultaneously, given the overlap in assets subject to forfeiture among them, and the

distribution of funds recovered in that process through the MDL will compensate FTX customers

as contemplated by applicable statute and the settlement agreements between MDL Plaintiffs and

these Defendants.

       65.      The MDL and forfeiture processes dovetail in other ways, as Co-Defendants Ellison,

Wang, and Singh are not the only parties jointly and severally liable for the forfeiture amount

ordered by this Court against SBF. Specifically, the Preliminary Order provides that “any other co-

conspirators” are also jointly and severally liable for the money judgment “up to the amount of

forfeiture money judgments that may be entered against them,” which could, presumably, include

the Bankruptcy Estate. Prelim. Order at 5. MDL Plaintiffs have filed claims of aiding and abetting

the FTX fraud, conversion, and other misconduct, as well as claims of civil conspiracy to do the

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same, against dozens of banks, venture capital firms, accountants, law firms, and other co-

conspirators (“Third Party Co-Conspirators”). The Bankruptcy Estate has thus far brought none of

these claims, and in fact many of these Co-Conspirators are creditors in the bankruptcy or are

actively assisting the FTX Debtors in administering the Bankruptcy. Distribution of funds

recovered from through the forfeiture process against those Co-Conspirators may be best achieved

in the MDL, where claims against them are currently, and exclusively, pending.

       66.      To administer these settlements, the MDL class has already engaged JND, one of

the premier legal administration firms in the country, to act as claims administrator for the

settlement distributions to class members. The MDL class members therefore comprise the broadest

group of victims holding, in the aggregate, the largest claim for losses, such that recovery of funds

forfeited pursuant to this Court’s Preliminary Order should flow through the FTX MDL, especially

given that FTX customers will not be made whole by way of the FTX bankruptcy, and to ensure

that the forfeiture amounts compensate FTX customers to the fullest extent possible pursuant to the

Court’s Preliminary Order.

       67.      Lee Reiners (“Reiners Rpt.”), a lecturing fellow at Duke University with expertise

in cryptocurrency regulation, supports MDL Class Counsel’s request to route the $8 billion

forfeited by Samuel Bankman-Fried through the FTX MDL for the benefit of FTX customers as

discussed in his independent report to this Court attached to the Alexander Declaration as Exhibit

C (the “Reiners Rpt.”). Reiners Rpt. at 2. Reiners has extensive experience in this field, having

published numerous academic papers, testified before U.S. congressional committees, and advised

government agencies on cryptocurrency-related issues. Id. His assessment is based on his work as

an independent expert witness with MDL co-lead counsel Adam Moskowitz since shortly after the

FTX collapse in November 2022. Id.

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        68.      Reiners argues that the digital assets held by the bankruptcy estate are the property

of the customers, not the estate. Id. at 3.

        69.      Reiners draws a parallel between In re Celsius Network LLC, Case No 22-

10964(MG) (Bankr. S.D.N.Y. Jan. 4, 2022) and the current FTX proceedings to underscore his

argument that digital assets should be considered the property of FTX customers. Id. at 8–9. In the

Celsius case, Chief Judge Martin Glenn ruled that “[t]he issue of ownership of the assets in the

[Celsius] Earn Accounts is a contract law issue[,]” ultimately determining that the Terms of Use

transferred title and ownership of the digital assets to Celsius. Id. at 8. Reiners emphasizes that the

FTX Terms of Service are even clearer, stating explicitly that “[t]itle to your Digital Assets shall

at all times remain with you and shall not transfer to FTX Trading.” By applying Judge Glenn’s

reasoning to the FTX case, Reiners asserts that the FTX Terms of Service are unambiguous in that

digital assets are the property of FTX customers. Id. at 10. This perspective forms part of the basis

for his recommendation to route forfeited funds through the FTX MDL, ensuring that the assets

are returned to their rightful owners—the FTX customers. According to Reiners, the FTX MDL

has demonstrated relentless advocacy for FTX victims and has the expertise to maximize recovery

on their behalf. Id. at 3.

                                              *   *       *

        70.      For the reasons stated above, the Court should hold a hearing pursuant to 21

U.S.C. § 853(n), to adjudicate the interests of the Individual Claimants and the MDL Plaintiffs in

the Forfeited Assets identified above. Pursuant to such a hearing, the Court should ultimately

conclude Individual Claimants and the MDL Plaintiffs have a superior right, title, and/or interest,

in the Forfeited FTX Customer Assets subject to the Preliminary Order of forfeiture and distribute

that property accordingly.


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                                    PRAYER FOR RELIEF

       WHEREFORE, the Individual Claimants and the MDL Plaintiffs respectfully request that
the Court:

       1. Hold a hearing to adjudicate the validity of their claim of legal right, title, and interest

          with respect to the value of the Forfeited Assets;

       2. Issue an Order amending the Preliminary Order of Forfeiture/Money Judgment to

          recognize that the Individual Claimants and the MDL Plaintiffs have established that

          they have a superior legal right, title, or interest in the property and/or the status of bona

          fide purchaser with respect to their interests therein; and

       3. Grant such additional relief as the Court deems just and proper.




Date: June 14, 2024                                   Respectfully submitted,

 By: /s/ Adam Moskowitz                             By: /s/ David Boies

 Adam M. Moskowitz                                  David Boies
 Florida Bar No. 984280                             Alexander Boies
 Joseph M. Kaye                                     Brooke A. Alexander
 Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
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 Coconut Grove, FL 33133                            dboies@bsfllp.com
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 adam@moskowitz-law.com                             balexander@bsfllp.com
 joseph@moskowitz-law.com                           Co-Lead MDL Counsel
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 Co-Lead MDL Counsel




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                         INDIVIDUAL CLAIMANT SIGNATURES

       I hereby attest under penalty of perjury that the contents of this petition are true and

accurate to the best of my knowledge, and that I have authorized the filing of this document.



Alexander Chernyavsky

DATE: 6/14/2024




SIGNATURE:



Kyle Rupprecht

DATE: ________________________

SIGNATURE: __________________



Mike Livieratos

DATE: ________________________

SIGNATURE: __________________



Sunil Kavuri

DATE: ________________________

SIGNATURE: __________________




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       Case 1:22-cr-00673-LAK          Document 454        Filed 06/17/24       Page 35 of 36




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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be filed via hand-delivery with

the Court Security Officers for the Southern District of New York at 500 Pearl Street New

York, NY 10007, as instructed by Clerk’s Office. Notice of this filing will be sent to all parties

by operation of the Court’s electronic filing system when this document is filed electronically

by Court personnel.



                                              /s/ Brooke Alexander

                                              Brooke Alexander




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